Case 2:04-cr-20304-.]PI\/| Document 71 Filed 04/25/05 Page 1 of 3 Page|D 104

~‘T$
IN THE UNITED STATES DISTRICT cOURT 054¢@“[ zj/

FOR THE wEsTERN DISTRICT oF TENNESSEE ‘“‘65 H*

WESTERN DIVISION

UNITED S'I`A'I`ES OP` AMERICA

Plaintiff,

Criminal No. Q_Z- <Q@(Q¥Ml

(30-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at Q;QQ
a.m. on Fridav, Mav 27, 2005, with trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

Th!s document entered nn the dock

ezt;heat ln compliance
with Hule 55 and/or 32(b) FRC;'P un

-QOI'O

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so ORDERED this 22nd day of April, 2005.

QVW@QQ

JON PHIPPS M<:CALLA
W/W\U UNI ED sTATES DIsTRIcT JUDGE

Assistant United States Attorney

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f

 

 

 

 

 

Counsel for Defendant(s)

   

UNITED sTEATSDTISRIC COURT - WESRTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

